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   1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
   2                            FORT WORTH DIVISION

   3    UNITED STATES OF AMERICA                  )      4:15-CR-151-O(11)
                                                  )
   4    v.                                        )      Rearraignment
                                                  )
   5    BRIAN HARRIS                              )      August 3, 2015

   6

   7                   BEFORE THE HONORABLE REED C. O'CONNOR
                           United States District Judge
   8                           In Fort Worth, Texas

   9
        FOR THE GOVERNMENT:                       MR. SHAWN SMITH
  10                                              US Attorney's Office
                                                  801 Cherry St
  11                                              Burnett Plaza Ste 1700 Unit #4
                                                  Fort Worth, TX 76102-6882
  12                                              817/252-5200
                                                  Fax: 817-252-5455
  13
        FOR THE DEFENDANT:                        MR. DON L. DAVIDSON
  14                                              Law Office of Don Davidson
                                                  803 Forest Ridge Dr
  15                                              Suite 203
                                                  Bedford, TX 76022
  16                                              817/355-1285
                                                  Fax: 817/355-1285
  17                                              donatty@flash.net

  18    COURT REPORTER:                           MR. DENVER B. RODEN, RMR
                                                  United States Court Reporter
  19                                              1050 Lake Carolyn Pkwy #2338
                                                  Irving, Texas 75039
  20                                              drodenrmr@sbcglobal.net
                                                  Phone: (214) 753-2298
  21

  22
            The above styled and numbered cause was reported by
  23    computerized stenography and produced by computer.

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   1        (August 3, 2015.)

   2              THE COURT:    All right.           We are here now on case

   3    number 4:15-CR-164, the United States versus

   4    Gabriel Farias-Lopez; case number 4:15-CR-170, the United

   5    States versus Heath Justin Prince; and case number

   6    4:15-CR-151, the United States versus Brian Harris.

   7              All right.    And all of you have your counsel here.

   8    Would you state your full name for the record.

   9              DEFENDANT HARRIS:        Brian Harris.

  10              THE COURT:    Thank you, Mr. Harris.

  11              DEFENDANT PRINCE:        Keith Justin Prince.

  12              THE COURT:    And?

  13              DEFENDANT LOPEZ:       Gabriel Lopez.

  14              THE COURT:    Thank you, Mr. Lopez.               You require the

  15    services of an interpreter and our interpreter has previously

  16    been sworn.

  17              Now, would you all raise your right hand and be

  18    sworn, please.

  19        (Three defendants sworn by the clerk at this time.)

  20              THE COURT:    Now, do you all understand that you are

  21    under oath and that if you answer any of my questions falsely

  22    your answers may later be used against you in a prosecution

  23    for perjury or making a false statement?

  24              DEFENDANT HARRIS:        Yes, sir.

  25              DEFENDANT PRINCE:        Yes.




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   1              DEFENDANT LOPEZ:       Yes.

   2              THE COURT:    Do you read, write, and understand the

   3    English language?

   4              DEFENDANT HARRIS:        Yes, sir.

   5              DEFENDANT PRINCE:        Yes, sir.

   6              DEFENDANT LOPEZ:       No.

   7              THE COURT:    How old are you?

   8              DEFENDANT HARRIS:        Forty-four

   9              DEFENDANT PRINCE:        Thirty-eight

  10              DEFENDANT LOPEZ:       Thirty-seven.

  11              THE COURT:    Are you currently or have you been within

  12    the last six months under the care of a physician or a

  13    psychiatrist?

  14              DEFENDANT HARRIS:        No, sir.

  15              DEFENDANT PRINCE:        No, sir.

  16              DEFENDANT LOPEZ:       No.

  17              THE COURT:    Have you ever been hospitalized or

  18    treated narcotics addition or alcoholism.

  19              DEFENDANT HARRIS:        Yes.

  20              THE COURT:    When was that?

  21              DEFENDANT HARRIS:        1996 or '7.

  22              THE COURT:    Okay.      Very good.            Anything about that

  23    treatment on or condition that affects your ability to

  24    understand what it is we're doing here?

  25              DEFENDANT HARRIS:        No, sir.




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   1              DEFENDANT PRINCE:        No.

   2              DEFENDANT LOPEZ:       No.

   3              THE COURT:    Are you now under the influence of

   4    alcohol or any other type of drug?

   5              DEFENDANT HARRIS:        No, sir.

   6              DEFENDANT PRINCE:        No, sir.

   7              DEFENDANT LOPEZ:       No.

   8              THE COURT:    Do you feel as if you suffer from any

   9    emotional or mental disability or problem?

  10              DEFENDANT HARRIS:        No, sir.

  11              DEFENDANT PRINCE:        No.

  12              DEFENDANT LOPEZ:       No.

  13              THE COURT:    Do you feel as if you are of sound mind

  14    and you fully understand what it is we're doing here today?

  15              DEFENDANT HARRIS:        Yes, sir.

  16              DEFENDANT PRINCE:        Yes, sir.

  17              DEFENDANT LOPEZ:       Yes.

  18              THE COURT:    Counsel, do you have any reason to

  19    believe that your client is not competent?

  20              MR. DAVIDSON:     No, Your Honor.

  21              MR. BROWN:    No, Your Honor.

  22              MS. MORALES-HAHN:        No, Your Honor.

  23              THE COURT:    Is there any notice from the Government

  24    to any victim in any of these cases?

  25              MR. WEIMER:     Your Honor, in the Prince case there is




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   1    notice required but has been complied with and we've received

   2    no objections from the victims.

   3                THE COURT:   Okay.     Very good.            All right.   Gentlemen,

   4    you may, if you choose, plead not guilty to any offense

   5    charged fence you and persist in that plea if it has already

   6    been made and if you plead not guilty the Constitution

   7    guarantees to you the following rights:

   8                The right to a speedy trial by a jury in this

   9    district.

  10                The right at that trial for you to confront; that is,

  11    to see, hear, and cross-examine all witnesses against you.

  12                The right to use the power and the process of the

  13    Court to compel the production of any evidence, including the

  14    attendance of any witnesses in your favor.

  15                The right to have the assistance of an attorney in

  16    your defense in all stages of the proceedings and, if

  17    necessary, an attorney would be appointed to the represent you

  18    if you did not have an attorney.

  19                At your trial you could not be compelled to testify

  20    and whether or not you would testify would be a matter in

  21    which your judgment alone would control.

  22                At your trial the Government would be required to

  23    prove your guilt beyond a reasonable doubt and if you were

  24    found guilty you would have the right to appeal your

  25    conviction.




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   1               Do you understand that you have these rights?

   2               DEFENDANT HARRIS:       Yes, sir.

   3               DEFENDANT PRINCE:       Yes, sir.

   4               DEFENDANT LOPEZ:      Yes.

   5               THE COURT:   On the other hand, if you plead guilty

   6    and if your plea is accepted, there will not be a further

   7    trial of any kind so that by pleading guilty you would waive

   8    the right to a trial as well as those other rights associated

   9    with a trial.

  10               Generally, a defendant who is accused of a crime

  11    cannot plead guilty unless he is actually guilty of that crime

  12    and in federal court the judge determines the penalty whether

  13    that conviction is on the verdict of a jury or upon a plea of

  14    guilty.

  15               I have not and I will not talk to anyone about the

  16    facts of your case except in your presence where you, your

  17    attorney, and representatives of the Government are all

  18    present.   However, if a guilty verdict is entered, a

  19    Presentence Report will be prepared and I will review it with

  20    the probation -- I may review it with the probation officers

  21    outside of your presence.

  22               If you should be convicted, you and your attorney

  23    will each be given an opportunity to present to the Court any

  24    pleas for leniency.

  25               The penalty will be decided on the basis of the facts




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   1    heard in open court.     You should never depend or rely upon any

   2    statement or promise by anyone whether connected with the

   3    Government important a law enforcement agency or your attorney

   4    or anyone else as to what penalty will be assessed against

   5    you.

   6              Should you decide to plead guilty, your plea must not

   7    be induced or prompted by any promises, pressure, threats,

   8    force, or coercion of any kind.

   9              A plea of guilty must be purely voluntary and you

  10    should plead guilty only because you are guilty and for no

  11    other reason.

  12              Do you understand these explanations?

  13              DEFENDANT HARRIS:        Yes, sir.

  14              DEFENDANT PRINCE:        Yes, sir.

  15              DEFENDANT LOPEZ:       Yes.

  16              THE COURT:    Under the Sentencing Reform Act, the

  17    Sentencing Commission has issued advisory guidelines for

  18    judges to consider in determining a sentence in criminal

  19    cases.

  20              Have you and your attorney discussed how the

  21    guidelines might apply in your case?

  22              DEFENDANT HARRIS:        Yes, sir.

  23              DEFENDANT PRINCE:        Yes, sir.

  24              DEFENDANT LOPEZ:       Yes.

  25              THE COURT:    Even so, I need to tell you any




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   1    discussion concerning the guidelines at this stage of the

   2    proceeding has been an estimate or prediction as to what those

   3    guidelines might be but it is not a promise as to what those

   4    guidelines will be.

   5              I am required to consider any applicable Sentencing

   6    Guidelines but may sentence outside the guidelines if I do so

   7    reasonably.    I am not bound by facts stipulated between you

   8    and your attorney on the one hand and the Government on the

   9    other and I can impose punishment that might disregard

  10    stipulated facts or take into account facts not mentioned in

  11    your stipulations and you might not be permitted to withdraw

  12    your guilty plea in such an event.

  13              I will not be able to determine the guideline

  14    sentence for your case until after the Presentence Report has

  15    been prepared and you and the Government have had an

  16    opportunity to challenge the facts and conclusions reported by

  17    the probation officer.

  18              You have the right to appeal the sentence I impose

  19    unless you waive that right and in some circumstances the

  20    Government has the right to appeal as well.

  21              In federal court parole has been abolished so if you

  22    are sentenced to prison you will not be released on parole.

  23              Do you understand these explanations?

  24              DEFENDANT HARRIS:        Yes, sir.

  25              DEFENDANT PRINCE:        I do.




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   1              DEFENDANT LOPEZ:       Yes.

   2              THE COURT:    Have you received a copy of the

   3    indictment in your case?

   4              DEFENDANT HARRIS:        Yes, sir.

   5              DEFENDANT PRINCE:        Yes, sir.

   6              DEFENDANT LOPEZ:       Yes.

   7              THE COURT:    Do you understand the nature of the

   8    charges that have been made against you in your indictment?

   9              DEFENDANT HARRIS:        Yes, sir.

  10              DEFENDANT PRINCE:        Yes, sir.

  11              DEFENDANT LOPEZ:       Yes, sir.

  12              THE COURT:    Do you want me to have those charges read

  13    aloud here in open court this morning?

  14              DEFENDANT HARRIS:        No, sir.

  15              DEFENDANT PRINCE:        No, sir.

  16              DEFENDANT LOPEZ:       No, sir.

  17              THE COURT:    All right.           Since you've all read it and

  18    understand it, you can waive a formal reading of it.

  19              You do have the right to have explained to you the

  20    essential elements of the offense that you intend to plead

  21    guilty to.    These are the elements that the Government would

  22    be required to prove beyond a reasonable doubt if you were to

  23    elect to go to trial.

  24              I will ask the Government to state those elements for

  25    each respective defendant at this time.




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    1              MR. SMITH:    For Mr. Harris and Mr. Farias.

    2              First, that two or more persons directly or

    3   indirectly reached an agreement to distribute or possess with

    4   intent to distribute a controlled substance as charged in the

    5   indictment.

    6              Second, the defendant knew the unlawful purpose of

    7   the agreement.

    8              Third, the defendant joined in the agreement

    9   willfully; that is, with the intent to further its unlawful

   10   purpose.

   11              And, fourth, that the overall scope of the conspiracy

   12   involved at least 50 grams of a mixture or substance

   13   containing a detectable amount of methamphetamine, a Schedule

   14   II controlled substance.

   15              MR. WEIMER:    And, Your Honor, as to Mr. Prince.

   16              First, that the defendant willfully or maliciously

   17   destroyed or defaced mail.

   18              Second, that the mail had been deposited in a letter

   19   box or other receptacle intended or used for the receipt or

   20   delivery of mail on any mail route of the United States Postal

   21   Service.

   22              THE COURT:    Do you all understand those elements?

   23              DEFENDANT HARRIS:        Yes, sir.

   24              DEFENDANT PRINCE:        Yes, sir.

   25              DEFENDANT LOPEZ:       Yes.




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    1              THE COURT:    And do you admit that you committed all

    2   of the essential elements of this offense?

    3              DEFENDANT HARRIS:        Yes, sir.

    4              DEFENDANT PRINCE:        Yes, sir.

    5              DEFENDANT LOPEZ:       Yes, sir.

    6              THE COURT:    Now, you have your attorney appearing

    7   here with you today.

    8              Do you feel as if you've had enough time to discuss

    9   the case and the charges made against you with your attorney?

   10              DEFENDANT HARRIS:        Yes, sir.

   11              DEFENDANT PRINCE:        Yes, sir.

   12              DEFENDANT LOPEZ:       Yes, sir.

   13              THE COURT:    And have you discussed the issue of

   14   punishment with your attorney and how the Sentencing

   15   Guidelines might apply in your case?

   16              DEFENDANT HARRIS:        Yes, sir.

   17              DEFENDANT PRINCE:        Yes, sir.

   18              DEFENDANT LOPEZ:       Yes, sir.

   19              THE COURT:    All right.           Now, is there a plea

   20   agreement -- Counsel, is there a plea agreement in your

   21   client's case?

   22              MR. DAVIDSON:     No, Your Honor.

   23              MR. BROWN:    No, Your Honor.

   24              MS. MORALES-HAHN:        No, Your Honor.

   25              THE COURT:    And to the extent any offers have been




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    1   made by the Government to your client, have you communicated

    2   those offers to your client?

    3              MR. DAVIDSON:     Yes, sir.

    4              MR. BROWN:    Yes, Your Honor.

    5              MS. MORALES-HAHN:        Yes.

    6              THE COURT:    And do you believe proceeding in this

    7   fashion is the best way for your client to proceed

    8   strategically, give all of the facts and circumstances?

    9              MR. DAVIDSON:     Yes, Your Honor.             Essentially.

   10              MR. BROWN:    Yes, Your Honor.

   11              MS. MORALES-HAHN:        Yes, Your Honor.

   12              THE COURT:    Okay.      Mr. Harris, in your case you face

   13   a -- I'm going to go over the range of punishment with you.

   14   You face a maximum penalty of 5 -- of a $5 million dollar fine

   15   and not less than 5 years nor more than 40 years in prison

   16   plus a term of supervised release of not less than 4 years.

   17   If you violate any condition of your release I may revoke such

   18   term and require you to serve an additional period of

   19   confinement, plus you face a mandatory special assessment of

   20   $100.

   21              Do you understand the full range of punishment that

   22   you face in this case?

   23              DEFENDANT HARRIS:        Yes, sir.

   24              THE COURT:    Do you have any questions of me about the

   25   range of punishment?




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    1              DEFENDANT HARRIS:        No, sir.

    2              THE COURT:    Mr. Prince, you face a maximum -- you

    3   face a maximum term of imprisonment of not more than 3 years,

    4   a fine not the objection seed $250,000, a term of supervised

    5   release of not more than 1 year, and if you violate any

    6   condition of this release you could be returned to prison for

    7   the entire term of supervised release.                    You face a mandatory

    8   special assessment of $100 and restitution and costs.

    9              Do you understand the full range of punishment, in

   10   particular, the maximum punishment, you face?

   11              DEFENDANT PRINCE:        Yes, sir.

   12              THE COURT:    Do you have any questions of me about the

   13   range of punishment?

   14              DEFENDANT PRINCE:        No, sir.

   15              THE COURT:    And, Mr. Farias, you face a maximum term

   16   fine of $5 million dollars.           You face a maximum term of

   17   imprisonment of not less than 5 years nor more than 40 years,

   18   plus a term of supervised release of not less than 4 years.

   19   If you violate any condition of your supervised release, I may

   20   revoke your term of supervised release and require you to

   21   serve an additional period of confinement.                    Plus, you face a

   22   mandatory special assessment of $100.

   23              Do you understand the full range of punishment you

   24   face in this case, particularly the maximum punishment and the

   25   mandatory minimum punishment?




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    1              DEFENDANT LOPEZ:       Yes, sir.

    2              THE COURT:    Do you have any questions of me about

    3   your range of punishment?

    4              DEFENDANT LOPEZ:       No.

    5              THE COURT:    All right.           Has anyone mentally,

    6   physically, or in any other way attempted to force you to

    7   plead guilty in this case?          Mr. Harris?

    8              DEFENDANT HARRIS:        No, sir.

    9              DEFENDANT PRINCE:        No, sir.

   10              DEFENDANT LOPEZ:       No.

   11              THE COURT:    Has anyone made any promise or assurance

   12   to you of any kind in an effort to induce you to enter a plea

   13   of guilty in this case?

   14              DEFENDANT HARRIS:        No, sir.

   15              DEFENDANT PRINCE:        No.

   16              DEFENDANT LOPEZ:       No.

   17              THE COURT:    Do you understand that if your plea is

   18   accepted you will be adjudged guilty of the offense that you

   19   plead guilty to and your punishment will be assessed somewhere

   20   within the range of punishment provided by statute?

   21              DEFENDANT HARRIS:        Yes, sir.

   22              DEFENDANT PRINCE:        Yes, sir.

   23              DEFENDANT LOPEZ:       Yes.

   24              THE COURT:    Are you a citizen of the United States?

   25              DEFENDANT HARRIS:        Yes, sir.




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    1              DEFENDANT PRINCE:        Yes, sir.

    2              DEFENDANT LOPEZ:       No.

    3              THE COURT:    Mr. Farias, have you talked to your

    4   counsel about the likelihood of you being removed; that is

    5   deported, based upon your plea of guilty in this case?

    6              DEFENDANT LOPEZ:       Yes, sir.

    7              THE COURT:    Okay.      You -- so do you understand then,

    8   based upon that conversation, that your conviction in this

    9   case could result in your deportation; that is, you could be

   10   required to leave the United States and it could adversely

   11   affect your ability to ever become a citizen of the United

   12   States?

   13              DEFENDANT LOPEZ:       Yes.

   14              THE COURT:    All right.           And, gentlemen, for you all,

   15   the offense that you're pleading guilty to is a felony and

   16   conviction of a felony may deprive you of valuable rights of

   17   citizenship such as the right to vote, hold public office,

   18   serve on a jury, possess any kind of firearm, and other

   19   valuable things.

   20              Do you understand these consequences?

   21              DEFENDANT HARRIS:        Yes, sir.

   22              DEFENDANT PRINCE:        Yes, sir.

   23              DEFENDANT LOPEZ:       Yes, sir.

   24              THE COURT:    Then, having heard all of the foregoing,

   25   how do you plead to the count that you intend to plead guilty




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    1   to, guilty or not guilty?

    2              DEFENDANT HARRIS:        Guilty.

    3              DEFENDANT PRINCE:        Guilty.

    4              DEFENDANT LOPEZ:       Guilty.

    5              THE COURT:    Okay.      Then I will accept your plea on

    6   the condition that there is a factual basis to support the

    7   plea.

    8              I have before me a factual resume appropriately

    9   styled for your respective cases.

   10              Did you read this entire document, the factual

   11   resume, in your case?

   12              DEFENDANT HARRIS:        Yes, sir.

   13              DEFENDANT PRINCE:        Yes, sir.

   14              DEFENDANT LOPEZ:       Yes.

   15              THE COURT:    And did you understand all of the

   16   information contained in this document?

   17              DEFENDANT HARRIS:        Yes, sir.

   18              DEFENDANT PRINCE:        Yes, sir.

   19              DEFENDANT LOPEZ:       Yes.

   20              THE COURT:    Are the facts stated in the factual

   21   resume true and correct?

   22              DEFENDANT HARRIS:        Yes, sir.

   23              DEFENDANT PRINCE:        Yes, sir.

   24              DEFENDANT LOPEZ:       Yes, sir.

   25              THE COURT:    All right.           Then, being satisfied with




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    1   the responses given during this hearing, I make the following

    2   findings on the record:

    3              In each of your cases you are fully competent and

    4   capable of entering an informed plea and your plea to the

    5   count you've pled guilty to is a knowing and voluntary plea

    6   supported by an independent basis in fact containing each of

    7   the essential elements of the offense.

    8              Your plea is therefore accepted and you are now

    9   adjudged guilty of that offense.

   10              As I mentioned, a Presentence Report will be prepared

   11   by the probation officer to assist in sentencing and you will

   12   be asked to meet with the officer and your attorney will be

   13   with you during that meeting.             If at any time you want to

   14   speak to your attorney in private, simply make that request

   15   and you will be allowed to do so.                 Your attorney will advise

   16   you on your obligation to be truthful to the officer during

   17   your meeting and what may happen if you are not truthful to

   18   the officer.

   19              You will be provided a copy of the Presentence Report

   20   well before your sentencing hearing and you will have an

   21   opportunity to make comments on it and file objections to it,

   22   if you need to.     So when the document comes out, review it

   23   carefully and if, after you review the document, you have

   24   objections to any of the information contained in the

   25   document, just tell your attorney and your attorney will use




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    1   your attorney's judgment to determine how to resolve those

    2   issues.    If your attorney is unable to resolve those issues,

    3   and they need to be resolved, then I will resolve them here in

    4   open court at the date and time for your sentencing.

    5              The date and time for your sentencing will be before

    6   me on December 7, 2015, at nine a.m., and your Presentence

    7   Report is due to be disclosed on or before September 22, 2015,

    8   so be looking for the document around that time period.

    9              Do you have any questions of me, sir?

   10              DEFENDANT HARRIS:        No, sir.

   11              DEFENDANT PRINCE:        No.

   12              DEFENDANT LOPEZ:       No.

   13              THE COURT:    All right.           Is there anything else we

   14   should take up the, counsel?

   15              MR. DAVIDSON:     No, Your Honor.

   16              MR. BROWN:    No, Your Honor.

   17              MS. MORALES-HAHN:        No, Your Honor.

   18              THE COURT:    Is there anything else from the

   19   Government?

   20              MR. WEIMER:     No, Your Honor.

   21              THE COURT:    Okay.      Thank you all for being here and

   22   good luck to you all.      We are in recess on your case.

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                                  DENVER B. RODEN, RMR
                                   United States Court Reporter
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    1        I, DENVER B. RODEN, United States Court Reporter for the

    2   United States District Court in and for the Northern District

    3   of Texas, Fort Worth Division, hereby certify that the above

    4   and foregoing contains a true and correct transcription of the

    5   proceedings in the above entitled and numbered cause.

    6        WITNESS MY HAND on this 10th day of January, 2016.

    7

    8

    9                                              /s/ Denver B. Roden

   10                                              DENVER B. RODEN, RMR
                                                   United States Court Reporter
   11                                              1050 Lake Carolyn Parkway #2338
                                                   Irving, Texas 75039
   12                                              drodenrmr@sbcglobal.net
                                                   Phone: (214) 753-2298
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                                  DENVER B. RODEN, RMR
                                   United States Court Reporter
